Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 1 of 11 PageID #: 872



                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION
     MICHAEL RAY STAFFORD,                              )
     CHARLES SMITH and DOUGLAS SMITH,                   )
     individually, and on behalf of those               )
     similarly situated,                                )
                                                        )
                       Plaintiffs,                      )
                                                        )
               v.                                       )   Case No. 1:17-cv-289-JMS-MJD
                                                        )
      ROBERT E. CARTER, JR., et al.,                    )
                                                        )
                       Defendants.                      )

                      PLAINTIFFS’ FINAL WITNESS AND EXHIBIT LISTS

               Plaintiffs, Michael Ray Stafford, Charles Smith and Douglas Smith, by counsel,

     pursuant to order of this Court (dkt. 119), hereby file their Final Witness and Exhibit Lists.

                                             I.       Witnesses

               Plaintiffs reserve their rights to call the following witnesses at the trial of this

     matter:

               1.      Plaintiff Michael Ray Stafford

             Mr. Stafford is expected to testify to his medical history, including his history of
     chronic HCV; his requests and desire to be treated pursuant to the standard care and
     cured of HCV; the manners in which he has been injured by Defendants’ refusal to treat
     him accordingly. Plaintiff has been interviewed by the undersigned counsel, answered
     written discovery requests, and is scheduled to be deposed by counsel for Defendants.
     Plaintiff is also expected to testify in accordance with his discovery responses and
     deposition testimony.

               2.      Plaintiff Charles Smith

             Mr. Smith is expected to testify to his medical history, including his history of
     chronic HCV; his requests and desire to be treated pursuant to the standard care and
     cured of HCV; the manners in which he has been injured by Defendants’ refusal to treat
     him accordingly. Plaintiff has been interviewed by the undersigned counsel, answered
     written discovery requests, and is scheduled to be deposed by counsel for Defendants.
     Plaintiff is also expected to testify in accordance with his discovery responses and
     deposition testimony.
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 2 of 11 PageID #: 873




            3.      Plaintiff Douglas Smith

             Mr. Smith is expected to testify to his medical history, including his history of
     chronic HCV; his requests and desire to be treated pursuant to the standard care and
     cured of HCV; and the manners in which he has been injured by Defendants’ refusal to
     treat him accordingly. Plaintiff has been interviewed by the undersigned counsel,
     answered written discovery requests, and is scheduled to be deposed by counsel for
     Defendants. Plaintiff is also expected to testify in accordance with his discovery responses
     and deposition testimony.

            4.     Defendant Robert E. Carter, Jr., a successor commissioner and/or a
     corporate representative of the Indiana Department of Correction (“DOC”).

             Such witness is expected to testify to DOC policies regarding medical care
     generally; contracts and contracting process with medical providers; expectations for
     medical providers; the standard of care due to inmates incarcerated by the DOC; the
     manner in which the DOC makes or made decisions regarding medical care for inmates;
     and his/her power regarding any final decisions of the DOC. Plaintiffs have served and
     received discovery requests to Commissioner Carter, and requested dates for his
     deposition. Plaintiffs expect this witness to testify consistently with his discovery responses
     and deposition testimony.

             5.      Defendant Michael Mitcheff, M.D., and/or successor chief medical
     officer of the IDOC.

             Such witness is expected to testify to the standard of care for treatment of chronic
     HCV; treatment of HCV with direct-acting anti-viral medication (“DAAs”); the actual
     treatment for DOC inmates with chronic HCV; DOC policies with respect to HCV; the
     reasons why DOC inmates do not receive the standard of care treatment for HCV; his
     personal role with respect to DOC policies and contracts regarding HCV; DOC policies
     regarding medical care generally; contracts and contracting process with medical
     providers; expectations for medical providers; the manner by which the DOC makes
     decisions regarding medical care for inmates; and his/her power regarding any final
     decisions of the DOC. Plaintiffs have served and received discovery requests to Dr.
     Mitcheff, and requested dates for his deposition. Plaintiffs expect this witness to testify
     consistently with his discovery responses and deposition testimony, and any expert report
     he/she may serve in this matter.

            6.     Defendant Monica Gipson, R.N., and/or successor Director of
     Health Services for the DOC.

            Such witness is expected to testify to the standard of care for treatment of chronic
     HCV; the actual treatment for DOC inmates with chronic HCV; treatment with DAAs;
     DOC policies with respect to HCV; the reasons why DOC inmates do not receive the
     standard of care treatment for HV; DOC policies regarding medical care generally;
     contracts and contracting process with medical providers; expectations for medical


     	                                             2
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 3 of 11 PageID #: 874



     providers; the manner by which the DOC makes decisions regarding medical care for
     inmates; and his/her power regarding any final decisions of the DOC. Plaintiffs have
     served and received discovery requests to Nurse Gipson, and requested dates for her
     deposition. Plaintiffs expect this witness to testify consistently with her discovery
     responses and deposition testimony, and any expert report she/he may serve in this
     matter.

            7.      Defendant Paul Talbot, M.D.

              Plaintiffs expect Dr. Talbot to testify to his diagnoses and treatment of Plaintiffs’
     HCV and other inmates with HCV. Dr. Talbot is also anticipated to testify to the
     management of HCV in the DOC generally, both while working with and for Corizon,
     LLC, and Wexford of Indiana, LLC, including directives received from any other
     Defendant or third party. Dr. Talbot will testify to the standard of care due to patients
     with HCV, including when he believes DAAs ought to be administered. Dr. Talbot can
     testify to the policies by which he abides and uses with respect to the treatment of DOC
     inmates with HCV. Plaintiffs are serving discovery requests to Dr. Talbot, and have
     requested dates for his deposition. Plaintiffs expect this witness to testify consistently with
     his discovery responses and deposition testimony, and any expert report he may serve in
     this matter.

            8.      Defendant Michael Person, M.D.

             Plaintiffs expect Dr. Person to testify to his diagnoses and treatment of Plaintiffs’
     HCV and other inmates with HCV. Dr. Person is also anticipated to testify to the
     management of HCV in the DOC generally, both while working with and for Corizon,
     LLC, or any other entity. including directives received from any other Defendant or
     third party. Dr. Person will testify to the standard of care due to patients with HCV,
     including when he believes DAAs ought to be administered. Dr. Person can also testify to
     the policies by which he abided and used with respect to the treatment of DOC inmates
     with HCV. Plaintiffs are serving discovery requests to Dr. Person, and have requested
     dates for his deposition. Plaintiffs expect this witness to testify consistently with his
     discovery responses and deposition testimony, and any expert report he may serve in this
     matter.

            9.      Defendant Houman Kiani, M.D.

             Plaintiffs expect Dr. Kiani to testify to his diagnoses and treatment of Plaintiffs’
     HCV and other inmates with HCV. Dr. Kiana is also anticipated to testify to the
     management of HCV in the DOC generally, both while working with and for Corizon,
     LLC, or any other entity. including directives received from any other Defendant or
     third party. Dr. Kiani will testify to the standard of care due to patients with HCV,
     including when he believes DAAs ought to be administered. Dr. Kiani can also testify to
     the policies by which he abided and used with respect to the treatment of DOC inmates
     with HCV. Plaintiffs are serving discovery requests to Dr. Kiani, and have requested
     dates for his deposition. Plaintiffs expect this witness to testify consistently with his



     	                                              3
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 4 of 11 PageID #: 875



     discovery responses and deposition testimony, and any expert report he may serve in this
     matter.

            10.     Dr. Raj Vuppalanchi, MBBS

             Dr. Vuppalanchi is expected to testify consistently with his expert report and his
     Declaration filed in support of Plaintiffs’ Memorandum in Support of Motion for Class
     Certification. Dr. Vuppalanchi will testify regarding HCV generally, including its effects
     and nature of transmission. He will also testify to the standard of care for HCV and its
     evolution, and how the treatment of Plaintiffs and those similarly situated is inconsistent
     with the standard of care. Dr. Vuppalanchi will testify to how and why DAAs became
     the standard of care, and to the public health benefits of treating with DAAs, including
     the benefits of treating prisoners with HCV. Dr. Vuppalanchi is also expected to testify
     consistently with his deposition testimony.

            11.     Dr. Suthat Liangpunsakul, M.D., M.P.H.

              Dr. Liangpunsakul is expected to testify consistently with his expert report, and
     the general nature of and treatment for HCV. Dr. Liangpunsakul will testify to the
     reasons that HCV is a major public health problem; the damage caused by HCV,
     including morbidity, injury and costs; the future of HCV care and treatment, the
     standard of care for HCV treatment; the practice and experience of the United States
     Department of Veterans Affairs in treating patients infected with HCV; and the benefits
     of treating HCV-positive inmates pursuant to the standard of care. He will also testify to
     the standard of care for HCV and its evolution, how and why DAAs became the standard
     of care, and how the treatment of Plaintiffs and those similarly situated is inconsistent
     with the standard of care. Dr. Liangpunsakul is also expected to testify consistently with
     his deposition testimony.

            12.     Defendant Corizon, LLC, through a corporate representative.

             This witness is expected to testify to the contractual relationship(s) between
     Corizon, LLC, and the DOC, and/or any other Defendants; the treatment of HCV in
     DOC and other facilities; the standard of care for treatment of HCV; and all reasons why
     it did not administer DAAs to Plaintiffs and/or others similarly situated. Plaintiffs have
     served and received discovery requests to Corizon, LLC, and expect this witness to testify
     consistently with its responses.

           13.   Defendant Wexford of Indiana, LLC, through a corporate
     representative.

             This witness is expected to testify to the contractual relationship(s) between
     Wexford of Indiana, LLC, and the DOC, and/or any other Defendants; the treatment of
     HCV in DOC and other facilities; the standard of care for HCV; and all reasons why it
     has not not administered DAAs to Plaintiffs and/or others similarly situated. Plaintiffs
     have served and received discovery requests to Wexford of Indiana, LLC, and expect this
     witness to testify consistently with its responses.


     	                                            4
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 5 of 11 PageID #: 876




             14.     Neil Fisher, M.D.

             This witness is expected to testify consistently with the affidavit he executed that
     was filed in support of Wexford of Indiana, LLC’s Response to Plaintiffs’ Motion for
     Class Certification. (Dkt. 113-1) He is also expected to testify consistently with his
     deposition testimony; the standard of care for treatment of HCV; Corizon’s contractual
     relationships with co-Defendants and the DOC; and practices and procedures of Wexford
     of Indiana, LLC, generally.

             15.     Dina Paul, M.D.

            Dr. Paul is expected to testify consistently with her deposition testimony; the
     standard of care for treatment of HCV; Corizon’s contractual relationships with co-
     Defendants and the DOC; and practices and procedures of Wexford of Indiana, LLC,
     generally.

            16.   Craig Hutchinson, M.D., Johnathan Grimes, R.N., Carmen
     Schilling, Carl Kuenzli, M.D, and Richard Hinchman, M.D.

             One or more of these witnesses may be called to testify to their personal roles, and
     the role of the Hepatitis C Coordinating Committee, in the provision, denial and/or
     management of care for DOC inmates. These witnesses are expected to testify to the
     procedures and factors relevant to the Committee’s actions or omissions, including its
     determinations or lack thereof made with respect to DAAs, the standard of care for HCV,
     and the manner by which certain inmates are selected to be treated with DAAs.

             17.     William Carr

            This witness is expected to testify as to the contract and course of dealing between
     Corizon, LLC and the DOC, including any contractual provisions relating to the
     treatment of HCV and/or DAAs.

             18.     Yet-to-be-identified expert witnesses of the parties.

             Defendants have yet to serve their Expert Disclosures and expert reports.
     Plaintiffs anticipate such witnesses will testify consistently with their expert reports, their
     answers to discovery requests, and their deposition testimony.

             19.     All witnesses listed on any party’s Final Witness and Exhibit
     List.

             20.     Plaintiffs also reserve the right to call any yet-to-be-identified health care

     providers who have rendered, or will render care to Plaintiffs or who witnessed such care,



     	                                               5
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 6 of 11 PageID #: 877



     and/or any medical events; and/or policymakers, who may testify to any such care

     and/or events; any individual later identified who may support or rebut any claim or

     defense, or who may be offered for the purposes of impeachment; any later disclosed or

     discovered witness; and any keeper of records required to establish the authenticity or any

     foundational requirement for the admissibility of any document.

                                              II.      Exhibits

                     Plaintiffs reserve the right to offer all evidence and refer to any of the

     following exhibits at the trial of this matter.

             1.       “Hepatitis C Guidance: AASLD-IDSA Recommendations for Testing,

     Managing, and Treating Adults Infected with Hepatitis C Virus,” which was attached as

     an exhibit to Plaintiffs’ First Amended Complaint for Declaratory and Injunctive Relief (dkt. no. 39-

     1).

             2.      Updated and historical guidelines from the AASLD-IDSA, available at

     https://www.hcvguidelines.org.

             3.      Plaintiffs’ medical records.

             4.      Plaintiffs’ grievance, response and appeal records and correspondence.

             5.      Plaintiffs’ DOC packets.

             6.      DOC Health Care Services Directive HCSD-3.12, November 15, 2011.

             7.      Management of Hepatitis A, B and C, DOC Health Services Division,

     November 15, 2011.

             8.      DOC Health Care Services Directive HCSD-3.09, June 1, 2015.

             9.      “Evaluation and Management of Chronic Hepatitis C Virus (HCV)

     Infection,” FBOP Clinical Guidance, May 2017.




     	                                                 6
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 7 of 11 PageID #: 878



            10.     Corizon statement on Hepatitis C treatment plan and Coordinating

     Committee.

            11.     Annual reports of the DOC.

            12.     Materials from the files and/or reports of Defendants’ yet-to-be-disclosed

     expert witnesses.

            13.     “Chronic Hepatitis C Virus (HCV) Infection: Treatment Considerations

     from the Department of Veterans Affairs National Hepatitis C Resource Center Program

     and the Office of Public Health,” March 27, 2014.

            14.     Curriculum vitae and expert reports of Dr. Vuppalanchi, Dr.

     Liangpunsakul, and all other expert witnesses disclosed in this matter.

            15.     “Hepatitis C Interview with Rose Vaisvila,” January 18, 2013

            16.     “Testing and Treating Prisoners for Hepatitis C,” Frederick Altice, M.D.,

     July 2017.

            17.     “The 25th Anniversary of the Discovery of the Hepatitis C Virus –

     Looking Back to Look Forward,” CDC Public Health Grand Rounds, June 17, 2014.

            18.     “Curing Hepatitis C – The Arc of a Medical Triumph,” Chung, M.D.,

     and Baumert, M.D., New England Journal of Medicine, April 24, 2014.

            19.     “Guidance for Industry - Chronic Hepatitis C Virus Infection:

     Developing Direct-Acting Antiviral Drugs for Treatment,” Draft Guidance, U.S. Dept. of

     Health and Human Services, October 2013.

            20.     “AASLD, IDSA & IAS-USA Announce New Hepatitis C Treatment

     Guidelines,” Liz Highleyman, January 29, 2014.

            21.     “When and in Whom to Initiate HCV Therapy,” AASLD-IDSA, June 28,

     2015, and subsequent updates.


     	                                            7
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 8 of 11 PageID #: 879



            22.      “Hepatitis Resource Directory for Medical Caregivers,” Indiana State

     Department of Health, 2015.

            23.      “Survey of the Status of Inmate Health in the State Prison System,”

     Indiana Legislative Services Agency, 2007 and any subsequent updates.

            24.      “A Tale of Two Epidemics — HCV Treatment among Native Americans

     and Veterans,” Brigg Reilley, M.P.H., and Jessica Leston, M.P.H., New England Journal

     of Medicine, August 31, 2017.

            25.      Medical literature, articles and studies cited by Plaintiffs’ expert witnesses

     in their expert reports and Declaration.

            26.      DOC Administrative Policies and Procedures, including, but not limited

     to:

                     a.      Policy and Administrative Procedure 00-02-301: Offender

                     Grievance Process.

                     b.      Policy and Administrative Procedure 01-02-101: The Development

                     and Delivery of Health Care Services; and

            27.      Federal Bureau of Prisons Guidelines for the Evaluations and

     Management of Chronic Hepatitis C.

            28.      Contracts between the Indiana Department of Correction and Wexford of

     Indiana, LLC.

            29.      Contracts between the Indiana Department of Correction and Corizon,

     LLC. Contracts made between any current co-Defendant to this action.

            30.      Pricing for DAAs, and all correspondence made or received by any party

     regarding DAA pricing.




     	                                              8
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 9 of 11 PageID #: 880



             31.      Depositions, exhibits, affidavits, statements, discovery, documents,

     motions, briefs, or responses made or ratified by any party or witness, and/or any other

     document or assertion that was taken, filed, made, served, mailed, or having any

     connection to this action.

             32.      Emails and correspondence relating to the provision of care to Plaintiffs,

     the acquisition or cost of DAAs, and/or the management of HCV.

             33.      Any admissible exhibit listed on any party’s final exhibits list, preliminary

     exhibits list, or initial disclosures.

             34.      Any and all admissible exhibits identified in the disclosures made pursuant

     to FED. R. CIV. P. 26, and the Preliminary and Final Witnesses and Exhibits Lists of any

     party in this action.

             35.      Any admissible portion of any relevant insurance agreement;

             36.      Any document or writing used to impeach or rebut any witness, including,

     but not limited to, written statements of any person called as a witness by any party

     relating to this lawsuit.

             37.      Any and all other exhibits which may come to the attention of Plaintiffs

     subsequent to the filing of this list and prior to the trial herein.

             Plaintiffs specifically reserve the right to introduce exhibits subsequently

     discovered or disclosed by any party, non-party or witness; any exhibits produced by

     subpoena or other requests to third parties; exhibits as may be necessary after considering

     the Defendant’s evidence at trial, and to seek leave of Court to introduce additional

     exhibits.




     	                                               9
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 10 of 11 PageID #: 881




                                               Respectfully submitted,


                                               s/ Mark W. Sniderman
                                               Mark W. Sniderman
                                               SNIDERMAN NGUYEN LLP

                                               Robert A. Katz
                                               Professor of Law, Indiana University
                                               ROBERT H. MCKINNEY SCHOOL OF
                                               LAW

                                                Attorneys for Plaintiffs Michael Ray
                                               Stafford, Charles Smith and Douglas Smith




     	                                  10
Case 1:17-cv-00289-JMS-MJD Document 127 Filed 12/22/17 Page 11 of 11 PageID #: 882



                                    CERTIFICATE OF SERVICE

               The undersigned hereby certifies that a copy of the foregoing Plaintiffs’ Final

     Witness and Exhibit Lists was electronically filed on this 22nd day of December 2017.

     Notice of this filing will be sent to the following counsel by operation of the Court’s

     electronic filing system. Parties and counsel may access this filing through the Court’s

     system.

     Benjamin M. L. Jones                                 Jessica L. Liss
     Jonathan P. Nagy                                     Carrie L. Kinsella
     Aleksandrina Penkova Pratt                           JACKSON LEWIS P.C.
     OFFICE OF THE ATTORNEY GENERAL                       7733 Forsyth Blvd., Suite 600
     Indiana Government Center South                      St. Louis, MO 63105
     302 West Washington Street, Fifth Floor              Jessica.Liss@jacksonlewis.com
     Indianapolis, IN 46204                               Carrie.Kinsella@jacksonlewis.com
     bejamin.jones@atg.in.gov
     jonathan.nagy@atg.in.gov                             Scott James Preston
     aleksandrina.pratt@atg.in.gov                        Melissa K. Taft
                                                          JACKSON LEWIS P.C.
     Douglas R. Bitner                                    10 West Market Street, Suite 2400
     Jarrod Alvin Malone                                  Indianapolis, IN 46204
     KATZ KORIN CUNNINGHAM                                Scott.Preston@jacksonlewis.com
     334 N. Senate Ave.                                   Melissa.Taft@jacksonlewis.com
     Indianapolis, IN 46204
     dbitner@kkclegal.com
     jmalone@kkclegal.com

     William R. Lunsford
     MAYNARD, COOPER & GALE, P.C.
     655 Gallatin Street
     Huntsville, AL 35801
     blunsford@maynardcooper.com



                                           s/ Mark W. Sniderman
                                           Mark W. Sniderman

     SNIDERMAN NGUYEN LLP
     47 S. Meridian Street, Suite 307
     Indianapolis, IN 46204
     (317) 361-4700 Tel
     (317) 516-6626 Fx


     	                                              11
